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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

  BRIEONA CLEVELAND                          )              Case No. 3:21-cv-00199-BJB-CHL
                                             )                   ELECTRONICALLY FILED
                                   PLAINTIFF )
                                             )
  vs.                                        )
                                             )
  REX BLACKWELL and                          )
  FIRSTFLEET, INC.                           )
                                             )                Removed from:
                                 DEFENDANTS )                 Jefferson Circuit Court
                                             )                Case No. 21-CI-001063
                                             )


                AGREED REPORT OF PARTIES’ PLANNING MEETING


        Come the Plaintiff, Brieona Cleveland (“Plaintiff”), and the Defendants, FirstFleet, Inc.

and Rex Blackwell (collectively referred to as “FirstFleet”), by counsel, and hereby tender their

Agreed Report of the Parties’ Planning Meeting.

        1.     Pursuant to Fed. R. Civ. P. 26(f), a meeting was held on or about May 18, 2021.

        2.     Fed. R. Civ. P. 26(a) Disclosures. The parties do not anticipate any changes in

form, or requirements of mandatory disclosures under Fed. R. Civ. P. 26(a). Per the Court’s text

Order of April 5, 2021, the parties shall make all mandatory disclosures prior to the June 2, 2021

scheduling conference.

        3.     Discovery Subjects. The parties anticipate discovery focusing on the following

subjects: Claims of the Plaintiff, Defenses of the Defendants, Damages and possibly Expert

Testimony.

        4.     Electronically Stored Information. The Parties do not presently anticipate any

disputes or issues arising from or relating to the disclosure or discovery of information stored
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electronically or on computer-based media. Disclosure of electronically stored information will,

be handled in accordance with the Fed. R. Civ. Pro. Categories of electronically stored information

sought will be produced in the form of CDs, email attachments, or other appropriate media. To the

extent any party asserts during discovery that it is necessary for electronically stored information

to be produced in some other format, the Parties agree to mutually work toward a reasonable

resolution of any such request. If the Parties are unable to agree and/or disputes arise regarding

electronically stored information, the Parties will submit them to the Court. The Parties are aware

of their respective obligations to preserve electronically stored information.

       5.      Parties’ agreement as to claims of privilege or protection as trial preparation

materials asserted after production. The Parties do not foresee that any Order will be necessary

regarding claims of privilege/protection as to trial preparation materials asserted after production.

Pursuant to 28 U.S.C. § 636(b)(1)(A), all discovery disputes will be referred to the United States

Magistrate Judge for resolution. Discovery disputes shall be resolved in the following manner:

(1) Parties shall first meet and/or confer in an attempt to resolve disputes between themselves,

without judicial intervention; (2) If the Parties are unable to resolve such disputes informally, they

shall attempt to resolve their disagreements by telephone conference with the Magistrate Judge;

(3) If, and only if, the Parties are unable to resolve their disputes after conference with the

Magistrate Judge, they may file appropriate written motions with the Court. Any written motion

regarding discovery shall include the certification required by Rule 37(a)(2)(A), if applicable.

       6.      Completion of Discovery. The parties agreed that discovery, except as provided

in sub-paragraphs (a) below, should be completed on or before December 30, 2021. This includes

depositions, interrogatories, requests for production of documents, and requests for admissions.
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       7.      Expert Witness Disclosure. The parties have agreed that Plaintiff shall disclose

its expert(s) information, in accordance with Fed. R. Civ. P. 26, on or before January 30, 2022.

Defendant’s expert reports shall be disclosed, in accordance with Fed. R. Civ. P. 26, on or before

February 28, 2022. All expert witness depositions must be completed on or before April 1, 2022.

       8.      Limitations Imposed by the Fed. R. Civ. Pro. The parties do not presently

anticipate any limitations on discovery or any changes in the discovery limitations imposed by the

Fed. R. Civ. Pro. or the Local Rules of this Court, except that the parties have agreed to serve forty

(40) interrogatories apiece per party.

       9.      Trial Date.     The parties anticipate this case being ready for trial in late

spring/summer of 2022 and lasting approximately three (3) to five (5) days.

       10.     Addition of Parties/Amendment of Pleadings. The parties agree that motions for

leave to add parties or to amend pleadings should be filed on or before January 30, 2022.

       11.     Dispositive Motions. The parties agree that Motions for Summary Judgment or

other dispositive motions should be filed on or before March 1, 2022.

       12.     Class Certification. This is not a class-action Complaint.

       13.     Settlement. The parties have discussed, in good faith, the possibility of settlement.

It appears unlikely that a prompt settlement can be reached prior to the parties conducting

discovery. After discovery is conducted, the parties believe there may be a reasonable chance for

settlement.
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                                              Respectfully Submitted,

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                                              tim@nuttlaw.com
                                              Counsel for Plaintiff

                                         CERTIFICATE

       I hereby certify that on the 18th day of May, 2021, I electronically filed the foregoing
document with the Clerk of the Court by using the CM/ECF System, and the foregoing document
was served electronically in accordance with the method established under this Court’s CM/ECF
Administrative Procedures upon all parties in the electronic filing system in the case by electronic
mail including:

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                                                 Counsel for Defendants Rex Blackwell and
                                                 FirstFleet, Inc.
